                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                     3:13cr112

UNITED STATES OF AMERICA,                    )
                                             )
Vs.                                          )               ORDER
                                             )
OBIE LAMONT CHAMBERS,                        )
                                             )
            Defendant.                       )
__________________________________           )
                                             )
PETITION OF MAJDAH                           )
BIN-SALAMON                                  )
__________________________________           )

        THIS MATTER is before the court on the Government’s Motion to Extend Discovery

Deadline (by Consent) or, in the Alternative, to Compel Discovery (#56). The motion reflects

that petitioner has consented to an extension through counsel. Having considered the motion and

reviewed the pleadings, the Court will grant an extension.

                                             ORDER

        IT IS, THEREFORE, ORDERED that the Government’s Motion to Extend Discovery

Deadline (by Consent) or, in the Alternative, to Compel Discovery (#56) is GRANTED. The

court will allow an additional 60 days for discovery and an additional 30 days thereafter for the

filing of dispositive motions and briefs, along with any request for hearing as may be provided

for by applicable law. These deadlines shall run from the Court’s original discovery order (#50).

 Signed: December 18, 2013




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